       PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff David

Choi hereby voluntarily dismisses his claims without prejudice to his ability to participate in this

action as an absent class member. Mr. Choi’s counsel is also concurrently filing a withdrawal of

appearance in this action. The class’s interests will continue to be represented by Court-appointed

Lead Counsel.

DATED: August 29, 2023                      ROBBINS GELLER RUDMAN
                                             & DOWD LLP
                                            SAMUEL H. RUDMAN


                                                            s/ Samuel H. Rudman
                                                           SAMUEL H. RUDMAN

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                                            Counsel for Plaintiff David Choi




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                                  CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on August 29, 2023, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the email addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

                                                   s/ Samuel H. Rudman
                                                   SAMUEL H. RUDMAN

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